Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 1 of 20 PagelD #:427

 

 

 

IN THE UNITED STATES CISTRICT COURT INDEX
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION 2 WITNESS PAGE
MICHAEL RENO, } 3. POLICE OFFICER KHALED SHAAR
Plaintiff, Examination
vB. } No. 10 C¥8114 4 by Mr. Edward M. Fox 4
CHICAGO OF cuicaco, ) 5
A Municipal Corporation, et al,} 6
Defendants. } 7
8
The deposition of POLICE OFFICER KHALED SHAAR, 9
the rules of Chul Procedure for tne Unted States Disc 10 EXHIBITS
Se a er icin and 11 Harris Exhibit No. 3 14
Sr ene te ny Harris Exhibit No. 4 35
of October, A.D, 2011, at 1:10 p.m. 42 Harris Exhibit No. 5 a8
Harris Exhibit No. 7 39
13 Harris Exhibit No. 8 43
14
15
16
17
18
19
20
21
22
23
24
1 APPEARANCES: 1 MR. FOX: Please go ahead and swear in the witness.
2 EDWARD M. FOX & ASSOCIATES 2 (Whereupon, the witness was duly
(300 West Adams Street,
3 Suite 330, 3 sworn.)
Chicago, Illinois 60606) 4 MR. FOX: Can you state your name and spell your name,
4 BY: MR. EDWARD M. FOX, 5 for the record?
appeared on behalf of the Plaintiff; . .
5 6 THE WITNESS: My name is Officer Khaled Shaar,
6 CUISINIER, FARAHVAR & BENSON, LTD. 7 — K-H-A-L-E-D, S-H-A-A-R,
, cor ven Adams Street, 8 MR. FOX: For the record, this is the deposition of
Chicago, illinois 60606) 9 Officer Shaar, being taken pursuant to notice and pursuant
8 BY: MS. VICTORIA R. BENSON, 10 te all of the applicable rules of the Northern District of
6 appeared on behalf of the Defendants. 11 Illinois and the Federal Rules of Civil Procedure.
410 12 POLICE OFFICE KHALED SHAAR,
11 13. called as a witness herein by the Plaintiff, having been
5 14 ~~ first duly sworn, was examined and testified as follows:
14 15 DIRECT EXAMINATION
15 16 BY MR. FOX:
16 REPORTED BY: 17 Q. Have you ever had your deposition taken before?
17 18 A. Yes, | have.
MR. JOSEPH T. MELARKEY, C.S.R. 19 Q. When was the last time?
3 License No. 84-686 20 A. Approximately a year ago. | can't remember the
20 21 ~— exact date.
21 22 Q. What kind of case was that?
a 23 A, It was a tort case. It was a car theft.
24 24 Q. Probably similar to that, I’m going to ask you a

 

 

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 

 
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 2 of 20 PagelD #:428

 

 

 

1 series of questions. 1 A. That’s correct.
2 Try and wait for me to be dene with my question 2 Q. Have you talked with any of the other officers
3 before you answer, and likewise I'll wait for you to be 3 or defendants in this case about their depositions?
4 done with your answer before | ask the next question 4 A. No.
5 because the court reporter can only get down one of us at a 5 Q. When was the last time you saw and talked to --
6 time. 6 let me withdraw that and rephrase that.
7 Also, when you answer questions, try to do it 7 Have you talked with either Officer Harris,
8 audibly and refrain from nodding your head yes or no like 8 Hoffman, or Gonzalez in the last couple of months about
9 that because that can’t be taken down as well. 9 this case?
40 If you don’t understand a question for any 10 A. Just to ask them if they were called, you know,
11. reason, let me know, and I'll repeat or rephrase it. 11. if they were called down for -- if they were involved in
12 And if you want to take a break, let me know 12 the lawsuit, | snould say, because | just got notified not
13. that, and we can do that as well: okay? 13. too long ago regarding it.
14 A. Okay. 14 Q. Now, do you remember the arrest of Reno?
15 Q. Now, are you currently with the Chicago Police 15 A. Vaguely, yes.
16 Department? 16 Q. On the day of the arrest of Reno, were you part
17 A. Yes, am. 17 of asurgical strike mission?
18 Q. For how long? 18 A. Yes.
19 A. About 12 and a half years. 19 Q. Had you done that sort of mission before the
20 Q. Whatis your current address? 20 = day you arresied Reno?
21 A. | work ~- I'm a police officer. 21 A. Yes.
22 | work in the organized crime bureau, the 22 Q. Can you describe briefiy what a surgical strike
23 narcotics division. 23 ~~ mission is?
24 @. How long have you been doing that assignment? 24 A. Esseniially, it’s a buy bust mission in a
5 7
1 A. Approximately six years. 1 targeted area that, you know, the higher ups decide.
2 Q. And before that, what was your assignment? 2 And essentially what they do is they send
3 A. Before that, | worked in the second district as 3 narcotics into that area first to do buy busts.
4 a tactical gang officer. 4 And then, | believe, then they send in, you
5 Q. For how long? 5 know, the bigger units, like a true unit or one of those
6 A, On and off for about five years. 6 and then go in and do like a mass arrest type of situation.
a Q. And then what did you do before that? 7 Q. Now, you said that you are and are still a part
8 A. Just regular patrol in the second district. 8 in the narcotics bureau, is that correct?
9 Q. In preparation for this deposition today, did 9 A. Yes, for the narcotics division.
40 you review any documents? 10 Q. How did you become a part of the narcotics
11 A. Yes, briefly. 11. division?
12 Q. What did you review? 12 A. | was asked by a former lieutenant of mine ff |
13 A. The arrest report. 13. wanted to go work for him because he had just been assigned
14 Q. How many? 14 ta narcotics, and | said, “Yes,” and within a few months,
15 A. Just one. 15 | was brought down there.
16 Q. And which one —- whose did you review? 16 @, Da you have to Go an application?
17 A. Michael Reno. 17 A. Yes.
18 Q. And who is the author of that arrest report? 18 Q. Were you interviewed by anybody in cennection
19 A. | don't recall. 79 with that?
20 Q. Have you iooked at any transcripts from the 20 A. Yes.
21 criminal trial in this case? 21 Q. Are you farniliar with -- you know what activity
22 A. No. 22 ~~ reports are?
23 Q. And you did not testify at that criminal trial, 23 A. Like a daily log type thing or --
24 _ is that correct? ) 24 Q. it records ihe number of arrests you've made or
6 8

 

 

 

2 (Pages 5 to 8)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 3 of 20 PagelD #:429

 

 

 

1 tickets you've written or guns you've seized, that sort of 1 called Harris No. 3.
2 thing. 2 (Whereupon, the document was
3 A. There is -- are you stating like a daily 3 tendered to the witness.)
4 activity report or something —- 4 BY MR. FOX:
5 Q. It could be daily. 5 Q. Is this the police report that you looked at?
6 A, -- or encompassing what you've done throughout 6 A, No.
7 your career? 7 Q. in any case, this recites on the first page of
8 Q. It could be daily, monthly. 8 this document, “The narcotics team B5,” do you see that --
9 You could put it on any timeframe you want. 9 A. Yes.
10 A. Oh, okay. You're talking about the overall, 10 Q. -- en the front page, and it goes on to the
11. yeah. I’m familiar with that, yes. 11 next page and describes narcotics teams B3 and B2, and your
12 Q. Tell me what your familiarity is with it. 12 name appears on that second page, is that correct?
13 A. |) know it’s a database in our computer system, 13 A. That's correct.
44 — in the Chicago Police Department computer system that 14 Q. So, by looking at that, which team were you on,
15 tallies your arrests that you had as far as guns and other 15 83, or B2?
16 things like that. 16 A. B3.
17 | don't betieve it has anything to do with 17 Q. Do you know who else was on your team by
18 that, but it’s just basically a database of what arrests 18 = looking at this?
19 you've made and whether they were felonies, misdemeanors, 19 A. Yes. Sergeant Blanks was our superviscr, he’s
20 or what type of arrests. 20 our supervisor still, Officer Gattin, Officer Grubs,
24 That's about it. 21 Officer Thompson were all assigned to my team at the time.
22 Q. Do you have occasion to look at your own 22 Officer Hopkins was assigned B2.
23 activity report from time to time? 23 Q. Now, these fellows that you just mentioned,
24 A. | -- probably the last time | looked at it was 24 ~~ Grubs, Gatlin, Thompson, were they accompanying you on the
9 41
1 about a year ago, before that, probably several years. 1 surgical strike mission on the day of the arrest of Reno?
2 Q. Has any supervisor talked to you about your 2 A. Yes,
3 activity report? 3 Q. Do you know what their assignment was on that
4 A, No. 4 day?
5 Q. Or about the number of arrests you're making or 5 A. \t says here “surveillance officers,” so f'm
6 not making? 6 going to assume that they were doing surveillance.
7 A. No. 7 Q. Was Sergeant Blanks working that day, do you
8 Q. Who was on your -- you worked on a team, is 8 recall?
g that correct? 9 A. Yes.
10 A. That's correct. 10 Q. Do you know who Sergeant Butler whe is
11 Q. And then on the day of the arrest of Reno, do 11. mentioned on the front page of this, do you know who he is?
12 you remember who was on your team? 12 A. Yes.
13 A. | remember that it was several teams together. 13 Q. Were both sergeant supervisors of you folks
14 Q. Yes. 14 that day, de you recall?
15 A. | think it was at least three teams, and | 15 A. Yes.
16 think everyone was shorthanded. 16 Q. Now, it’s my understanding on this particular
17 E don't usually work enforcement. 17 day that marked money was being used to estimate buys of
18 So, that’s why | wasn’t working enforcement 18 ~~ narcotics?
79 ~~ that day. 19 A. It's not marked money. It's not marked in any
20 But | honestly, off the tap of my head, | don’t 20 way.
21° ~remember who else was there. 21 Q. 1505 funds?
22 | mean, my team has changed since then, $o -- 22 A. Yes, it’s prerecorded is what it is.
23 Q. I'm going to show you a police report. 23 The serial numbers are prerecorded.
24 It already has an exhibit tag on it. lis 24 Q. So, were prerecorded funds being used on that
10 12

 

 

 

3 (Pages 9 to 12)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 4 of 20 PagelD #:430

 

 

 

1 particular day? 1 missions start.
2 AL Yes. 2 | mean, it was daytime. That | know for sure.
3 Q. What's your understanding of the use of 3 Q. Allright. Whatever time you started that day,
4 prerecorded funds? 4 is it the procedure that you get a briefing from your
5 A. Essentially an officer will check out money, 5 sergeant or fram somebody in connection with what you're
6 you know, get money from our bursar and the money -- all of 6 going to be doing that day?
7 the serial numbers are logged. You make sure that the 7 A. Yes.
8 numbers are all matched. 8 Q. On this particular day, you were told that you
9 You make a copy of the list of the log and 9 were going to be part of the surgical strike mission for
10 = once -- you use the money -- now, this situation, the 10 ~—s« the day?
11 enforcement officers were given a list of the serial 11 A. That's correct.
12 numbers of the money that was going to be used, that was to {2 Q. And then you were given your assignment that
13 beused, 43 day, which in this case would have been as an enforcement
14 And then, you know, that's it, you know. 14 afficer?
16 Then they would use it and include a copy of 15 A, Correct.
16 the funds sheet, the log, with the arrest. 16 Q. How do you know where you're going to go?
17 Q. So, was it your understanding that these 17 A. The surgical strike missions are usually ina
18 prerecorded funds were to be used to make buys, and that 18 — targeted area.
19 you were supposed to try and recover these funds when you 19 So, there was probably an order, written order
20 made the arrest? 20 ~—s given to the supervisors as to what area we would be
21 A. Right. 21 traveling to or what areas to target.
22 Q. And you had some sort of log that you would 22 Q. Is it your function to go to a location
23. compare the funds with? 23 somewhere within the targeted area and then just wait for
24 A. Yes, a written — a written list. 24 further orders to take whatever enforcement action is
13 15
1 | don’t remember exactly in this situation what 1 appropriate?
2 occurred, but it was either a handwritten list by an 2 A. As an enforcement officer, yes.
3 undercover officer, “This is the money !’m using,” a ten 3 Q. How do you keep in communication with the other
4 dollar bill with the serial number, or they give it to you 4 officers on your surgical strike team?
5 verbally and you write it dawn yourself, you know, being an 5 A. We communicate with Nextel phones, | guess
6 enforcement officer. 6 radios.
7 Q. Had you worked as an enforcement officer prior 7 Q. On this particular day of Reno’s arrest, do you
8 to the date of Rene’s arrest? 8 recall making any other arrests of any other persons before
9 A. Yeah. It wasn’t my regular assignment, but | 9 Reno's arrest?
10 have had the opportunity te work in enforcement as an 19 A. | believe we did.
11. enforcement officer. 11 | can't -- | can’t be 100 percent sure.
42 @. What about, had you been a buy bust officer? 12 Q. Bid you know who Reno was before the day of his
13 A. Yes, and a surveillance officer as well. 13 arrest?
14 Q, When you guys set up that day, which shift were 14 A. No.
15 you working, de you recall? 15 Q. To your knowledge, you had no prior contact
16 A. | don't remember what time we started. 16 ~~ with him?
i7 | know it was during the day. 17 A. That's right.
18 Q. So, this arrest, it looks like, took place 18 Q. At the time before -- at some point during that
19 around a quarter to five or so in the afternoon? 12 = day, you were called in to detain somebody who matched the
20 A. Yes. 20 ~~ description of Reno, is that correct?
21 Q. Would that te! you or give you an idea as to 21 A, That's correct.
22 what time you would have started roughly? 22 @. Where were you roughly ait that time?
23 A. Honestly, we could have been there since 7:00 23 A. Ident remember exactly where.
24 in the morning, which is usually what time these types of 24 We would have been Several blocks away, you

14

 

16

 

 

4 (Pages 13 to 16)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 5 of 20 PagelD #:431

 

 

 

4 know, out of the area So as not to, you know, be seen. 4 description.
2 Q. Were you in a marked or an unmarked car? 2 Q. As we sit here now and talking about this, do
3 A. Unmarked squad car. 3 you remember anything that Officer Gonzalez said in
4 Q. And you were in plain clothes? 4 particufar about what the person you later found out was
5 A. Correct, with duty belts, you know, vests, 5 Reno what he was doing that day?
6 badge. 6 A. No.
7 @. Who was your partner that day? 7 Q. Specifically, let me ask you, do you remember
8 A. | believe | was working with Officer Hoffman. 8 him saying anything about cbserving Reno engaging in any
i) Q. And Officer Hofman, he was someone who was 9 hand-to-hand sales?
10 ‘typically on the same team as you? 10 A. | don’t remember.
11 A. No. He was on team B2. 11 Q. Or what appeared to be hand-to-hand sales?
12 As a matter of fact, they were short. 12 A. | don’t remember.
13. Obviously, they were shorthanded, obviously shorthanded, 13 Q. Ifa surveillance officer, and I’m not talking
14. and, so, they put us together. 14 about this case specifically but just generically, ifa
15 The sergeant put us together. 15 — surveillance officer says some guy appeared to be engaging
16 Q. And then Harris and Gonzalez were also on a 16 in hand-to-hand sales of narcotics, that has a meaning to
17 different team typically than you were, than you would be? 17 you?
18 A. Correct, team BS, you know, Butler, Harris, 18 A. Yes.
19 Gonzalez, Konior, K-O-N-I-O-R, and Sanchez were all on the 19 Q. And that means that this person might be
20 ~=same team. 20 ~~ actually engaging in selling narcotics if that’s what you
21 Q. So, on this particular day, what was the first 21 hear over the radio?
22 communication you can recall hearing that was in connection 22 A. That’s correct.
23 with the arrest of Reno? 23 Q. Do you recall getting a description of Reno
24 A. 1 don’t remember the exact wording, but 24 before arresting him?
17 19
1 typically it would be one of the surveillance officers 1 A. [would have. | don’t remember what the
2 giving a description of what was going on, you know, being 2 description was.
3 our eyes because we weren't on the scene. 3 Q. At some point, you were told to go to detain
4 So, as far as exact wording as to what was 4 this fellow who did a hand-to-hand sale with Officer
5 said, | don't remember. 5 Harris, is that correct?
6 Q. But typically, and | understand you don't 6 A. That's correct.
7 remember what was said, but typically, if Gonzalez was a 7 Q. Do you remember who it was that gave you the
8 surveillance officer in this case, he would be giving a 8 directive to do that, fo detain the fellow who did the
9 description of what he was watching and you would be 9 hand-to-hand sales with Officer Harris?
10 listening over the radio for this information? 10 A. No, | don’t.
11 A. That's correct. 11 @. In the context of doing this stuff, would it
12 Q. Would the surveillance officer typically give 12 necessarily be the surveillance officer or would a
13. adescription of what he’s observing in connection with 13 supervisor do it or a different person do it, or it could
44 somebody he’s targeting, a particular individual? 14. be anybody?
15 A. Yes. 15 A. Depending on the circumstances, it’s usually
16 @. Can you give me an example of the kinds of 16 the supervisor who would direct an enforcement officer to
17 things he might say? 17 goin and place the subject into custody, or at least --
18 A. For example, if he observed somebody standing 18 let me rephrase that.
19  onacorner, a subject standing on a corner, he would give 19 Not place him into custody, but detain him, you
20 adescription of that subject, what the person looked like, 20 ‘know, upon further investigation, hopefully leading up to
21 what the person was wearing. 21 placing him into custody.
22 Then describe what the person was doing, if 22 Q. At any rate, at some point during that day, you
23s they were selling drugs or standing there, just talking to 23  ~=got a directive by somebody to go and detain wha you later
24 someone else or talking on the phone, he would give that 24 ~— found out was Reno, is that correct?

18

 

20

 

5 (Pages 17 to 20)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 6 of 20 PagelD #:432

 

 

 

1 A. That's correct. 1 you were told that you should go to the store to detain
2 Q. Can you remember anything at all that was said 2 this fellow?
3 over the radio about going to detain Rene before you were 3 A. That's correct.
4 totd to detain him? 4 Q. But you don’t remember who gave you that
5 A. | remember that the subject went into a store 5 direction?
6 out of -- essentially ran into a store out of a 6 A. One of the sergeants. | don’t remember who.
7 surveillance officer's view and was not seen exiting. 7 Q. Have you told me everything that you can recall
8 Like | said, we were given a description. 8 about what you were tald about what was being said before
9 | don’t remember the description. 9 you were toid to go to the store to detain this individual?
10 Myself and Officer Hoffman and I believe the 10 A. Yes, | believe so.
11 other two enforcement officers then went in to look for the 11 Q. When you went to the store to detain, this was
12 = subject. 12 at -- was it at 97th and Essex?
13 Q. Inthe store? 13 MS. BENSON: 79th.
14 A. Yes. 14 THE WITNESS: 79th.
15 Q. So, the only thing you can recall being told 16 BY MR. FOX:
16 prior to being told to detain him was is that this fellow 16 Q. I'm sorry, 79th and Essex, is that correct?
17 ~~ raninto a store? 17 A. Yes.
18 A. That’s correct. 18 Q. Bo you remember which corner it was?
19 GQ. You weren't told anything about his activity, 19 A. | believe it was — | recall the southwest
20 ‘true? 20 corner, if I'm not mistaken.
21 A. We were given -- we were typically given a 21 Q. Were you familiar with that intersection before
22 play by play of what is occurring. 22 ~~ that day?
23 Sa, from what | recail, the subject was 23 A. | mean, we've been over there.
24 ~~ involved in a hand-to-hand transaction with the undercover 24 I'm just famitiar with it in passing.
21 23
1 officer, 1 Q. Did that intersection have a knowledge of being
2 And at that point, when the undercover received 2 one in which there was a lot of narcotics activity
3 drugs from the target, then the target ran into the store. 3 generally?
4 And then the undercover would have gotten on 4 A. Yes.
5 the air and said that -- whether it was a positive 5 Q. Did you know before you went to that store, did
6 transaction or a negative transaction, but what the 6 you know what kind of store it was?
7 undercover bought, how much was spent, and then basically 7 A. No.
8 wait for our order to go in and arrest that target. 8 Q. And when you say “we went to the store,” it
9 Q. Who was it that typically gives you the play by 9 would have been you and Officer Hoffman, correct?
10 ~~ play of what goes down? 10 A. Yes, and Officer Konior and Officer Sanchez, |
11 A. Whoever the surveillance office may be. 11. remember they went in there as well.
12 Usually it’s one officer giving, you know, the 12 Q. They were in a different car than you?
13. most description, but it could be more than one officer, 13 A. That's correct.
14 depending on angles and what not. 14 Q. Who got there first?
15 Q. Do you recall any of the words that were used 15 A. | don’t remember.
16 atall, or you just recall generally or probably what most 16 @. When you did get there, did you see Rena on the
17 likely would have happened? 17 — street, or did you have to go into the store to see him?
18 A. | recall that there was a transaction. | 18 A. Lremember him being in the store.
19 remember about Officer Harris going in. 19 Q. What kind of a store was this?
20 | remember the target, you know, running into 20 A. To be honest, that day, | wasn’t sure, and to
21 the store, being given that description, and | don't 21 this day, I’m still not sure what kind of a store it was.
22. remember the exact words that were used two and a kalf 22 | have na idea what they sold in that store.
23° syears ago. 23 It was basically counters and a register.
24 Q. Allright. And then at some point after that, 24 Q. Do you remember if there was scaffolding in

22

 

24

 

 

6 (Pages 21 to 24)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 7 of 20 PagelD #:433

 

 

 

1 front of the store? 4 didn’t find any weapons.
2 A. | believe there was, yes. 2 Q. Did you ask him -- would you have looked for
3 Q. So, when you walked inte the store, how many 3 the money that was used in the buy bust operation?
4 people in the store, non-police officers? 4 A. Yes.
5 A. As | recall, it was three people total. 5 Q. Deo you remember what you did to lock for the
6 @. Pm sorry, did you say you got there first or 6 money?
t the other two officers? 7 A. Well, once we took him out of the store so he
8 A. don't remember who it was. 8 could be identified by the undercover officer as being the
9 Q. So, when you saw the three folks in the store, 9 same person, then he would have been placed into custody
10 what was Reno doing when you first walked in? 10 and then basically searched and money, you know, retrieved,
i1 A. | don’t remember. 11 looked at, [ooking te see if any serial numbers matched.
12 Q@. When you first walked in, was he doing anything 12 Q. So, in this case, do you remember if you
13 in your view which you thought was being evasive? 13 handcuffed him inside the store?
14 A. I don’t recall. 14 A. | don’t remember.
15 Q. You know, did it look like he was trying to 15 Q. Butin any case, you would have detained him in
16 hide something or anything like that? 16 some fashion, or you did detain him in some fashion and
17 A. | don’t recall. 17 bring him outside the store?
18 Q. And then the other two people that were in the 18 A. That's correct.
19 store other than Reno, could ycu tell if they were folks 19 Q. Do you remember having any conversation with
20 that worked in the store? 20 the Asian woman or the man who was in the store?
21 A. There was a woman. | believe she was an Asian 21 A. Yes.
22 woman who appeared to be working behind the counter. 22 Q. Was that before you took Reno outside the
23 You know, she appeared to be an employee or 23 ~~ store?
24 ~~ owner, and then there was another male in the store. 24 A. think it was after | took him outside the
25 27 |
1 It looked like he was just in the store, from 1 store.
2 what | recall. 2 Q. Allright. We'll get to that in a minute.
3 Q. And from what you observed, what was Reno’s 3 When you took Reno outside of the store, what
4 reaction when you waiked in, if anything? 4 are you doing at that point?
5 A. | don't remember. 5 What is your function?
6 Q. What did you do when you walked in? 6 A. | was just taking him out and letting the
7 A. From what -- | don't remember exactly what | ? undercover officer in a covert capacity take a look at him
8 dic. 8 and identify him as being the person that sold him the
9 | would have -- if hé would have matched the 9 narcotics.
10 = description | was given, | would have placed him -- well, 10 Q. Okay. And did that happen?
41. detained him and then taken him out of the store. 1 A. Yes.
12 Q. Do you remember the description you were given 12 Q. How much time lapsed from the time you took
13. before you went into the store? 13. Reno outside the store until the time that Harris -- and
14 A. No, | don't. 14 that would have oeen Harris, correct?
15 Q. So, | take it from your answer you do or you do 15 A. Yes.
16 not remember detaining Reno? 16 Q. How much time lapsed roughly between the time
17 A. [ don’t remember -- | remember - no, | do 17 you took him out outside the store and Harris made this
18 remember detaining him, but | don’t remember as far as what 18 = identification?
19 his reaction was or anything like that. 19 A. Not more than a couple of minutes.
20 Q. So, when you detained him, | take it you would , 20 @. Do you recall how much time lapsed roughly
21 shave padded him down? 21 between the time you were told that the transaction had
22 A. Correct. 22 gone down between Harris and Reno and the time that you
23 Q. What did you find on him, if anything? 23 were asked to do the enforcement action?
24 A. The pat down would have been for weapons, sc | 24 A. That was probably at least ten minutes because

26

 

28

 

 

 

7 (Pages 25 to 28)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 8 of 20 PagelID #:434

 

 

 

1 [ think that -- from what | recall, they were waiting for 1 did you do next?
2 him to come Sack oui. 2 A. We went back into the store, and | spoke with
3 Q. So, what did Harris do, to your recollection, 3. the woman behind the counter to see if Mr. Reno may have
4 to make the identification of Reno? 4 given her money, you know, or exchanged money, cashed out
5 A. idon’t remember how he got back to the area, 5 and then | kind of did a search, a cursory search of the
6 but | do remember him saying that, yes, that was the person 6 premises to see if we could possible find where it was, if
7 that sald him the narcotics. 7 he had hidden it in the store.
8 Q. So, when you got that information, this would 8 Q. What did the woman tell you when you talked to
9 have been over your radio? 9 her about the money?
10 A. Yes. 10 A. | don't remember what she said, if -- if she --
11 Q. And this is the same Nexte? you're using or 11. ifhe had given her money or net.
12 something different? 12 | don’t think -- | don’t think he did.
43 A. Yes, a Nextel phone. 13 | don’t think she replied that he did,
14 Q. So, once you got the identification fram i4 Q. And when you did this cursory search, are you
15 Harris, what's the next thing that you guys would have -- 16 — looking for money and/or drugs?
16 what's the next thing you guys did with Reno? 16 A. That's correct.
17 A. Placed him into custody and then a custodial 17 Q. Did you find anything?
48 = search. 18 A. No,
19 Q. And custodial search is a more thorough search 19 Q. Did the people in the store, either this Asian
20 than the original pat down? 20 ~~ woman or this other guy that was in there, did they
21 A. That's correct. 21 ~~ impede -- let me ask it this way: Was the Asian woman
22 Q. And what did you find on the custodial search? 22s coaperative with you?
23 A. | believe he had money on him, | don't 23 A. Yes.
24 remember what else he may have had. 24 @. What about the man who was in the store, was he
29 31
1 Q. Do you remember how much money he had on him? 1 cooperative with you?
2 A. No. 2 A. | believe so.
3 Q, Bo you remember if it was a lot of money ora 3 Q. So, after you talked to the man and woman in
4 little money or what? 4 the store and you did a search of the store, what was the
5 A. Ronestly, | don’t remember. 5 next thing you did in connection with Reno?
6 Q. Whatever money he had, do you remember looking 6 A. We transported him to the station to process
7 at the serial numbers to compare it te your log to see if 7 the arrest.
8 it matched, the money that was used by Harris in the buy? 8 Q. Did you form any opinions as to what happened
9 A, Yes. 9 to the money?
40 Q. And what happened when you did that? 10 A. No.
11 A. The money did net match anything on the fog, or 11 Q. Did you have any idea what could have happened
12 the money that Officer Harris may have used. 12 toit?
13 Q. You said it did not match? 13 A. mean, anything could have happened te it.
14 A. Right. 14 Q. Do you remember getting any information that
15 Q. When you found out, when you realized the 15 Reno was working with anybody before you detained him?
16 = money did not match, did you ask Reno about the money? 16 A. Not that I recall.
17 A. {don't recall asking him about the money. V7 Q. Do you remember having any conversation with
18 Q. Do you remember the denominations of the money 18 Reno about whether or not he had any drugs around in the
19 Reno had on him? 19 area or money?
20 A. No. 20 A. Not that | recall.
21 Q. You don't remember if it was ones or fives or 21 Q. Would this have been something that one of you
22 ~~ ‘tens, whatever? 22 officers would have talked to him about, though?
23 A. No. 23 A. Most likely, yes.
24 Q. Once you realized the money didn't match, what 24 Q, Do you remember any conversation about another

30

 

 

32

 

8 (Pages 29 to 32)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 9 of 20 PagelD #:435

 

 

 

1 arrestee or another drug user informing on Reno that day? 4 station did you go to?
2 A. No. 2 A. | believe it was the Area 2 police facility.
3 Q, You said that you found some money on Reno, is 3 Q. When you got back to Area 2, did all of you
4 that correct? 4 guys begin preparing reports in connection with this
5 A. Yes, 5 arrest?
6 Q, Would that typically have been inventoried? 6 A. Yes.
7 A. | think it -- 'm sorry, excuse me, it depends 7 Q. Did you participate in writing any of the
8 on the amount. 8 reports?
9 Q, What's the criteria for that? 9 A. Yes.
10 A. ff its - if it's a substantial amount to be 10 Q. It's not the one you have in front of you, is
11 seized or if it's commingled with the 1505 funds, the 11. that correct?
12 garage, they'll usually specifically take it in the past. 12 A. No, it's not.
13 Q. And if its a small amount of money and it's 43 Q. Lefme show you what we've marked as Harris
14 not commingled with the 1605 funds, they will usually not 14 ~~ 4, did you have anything to do with that report?
15 inventory it? 15 (Whereupon, the document was
16 A. Right. 16 tendered to the witness.)
17 @. Do you remember anything that any of the other 17 BY THE WITNESS:
48 enforcement officers that were there with you, Hoffman, 18 A. | believe | did do this report.
49 Konior, or Sanchez did to look for the 1505 funds or drugs? 19 BY MR. FOX:
20 A. No, | don’t remember. 20 Q. And then generally, what is this report used
21 Q. Do you remember any conversations you had while 21 for?
22 = you were stil} at the scene of the arrest of Reno over your 22 A, Its just a summary of all of the numbers, RD
23 radio with anybody else, either your supervisor or anybody 23 number, rate number, incident number, the date and time of
24 ~~ else on your team about the fact that you hadn't found any 24 ‘the incident, the location of the incident, what type of
33 35 |
1 of the 1505 funds or drugs? 1 incident it was, what was recovered as far as contraband,
2 A. | don’t remember any conversation with anyone 2 gang affiliation, etc.
3 regarding the 1505s. 3 Q. You have on here that he’s a member of the
4 There could have been, but i don’t recall. 4 Black P Stone Nation?
5 Q. Was Reno cooperative with you when you were in 5 A. Yes.
6 his presence? 6 Q. Bo you recall if ne admitted this to you, or
7 Well, let me break it down. 7 did you find out in a different way?
8 A. Yeah, break it down because it's a little -- 8 A. | would have -- well, | can’t be 100 percent
9 @, Sure. Did he resist being handcuffed at any 9 sure either way.
10 time? 10 Q. So, you could run his name and find out that
11 A. Na, not that | recall. 11 way, or he could have teld you that he was?
12 Q. Did he appear to you that he was getting ready 12 A, That's correct.
13. to try and flee? 13 Q. Towards the bottom of the document, it looks
14 A. Neo. 14 ‘like there's some questions where you're supposed to check
15 Q, Did he refuse to answer any questions that you 15 yes orno, do you see that?
16 put to him, if you can recall? 16 A, Yes.
17 A. That, | don’t remember. 17 Q. And then one says “narcotics complaint
18 Q. Who transported him back to the police station? 18 related,” what does that mean?
19 A. [don't remember which one. | don’t remember. 19 A. What was the reason we were in the area
20 Q. So, | take it that you wouldn’t remember any 20 investigating that particular area.
21 conversations that may have taken place on the way back ta 21 Q@. Okay, | see. And then you wrote in the reason
22 ‘the station’? 22 ~—why you were in there was because you were deing a
23 A. No. 23 ~~ surgical strike mission?
24 Q. So, when you got back to the -- what police 24 A. That's correct. It’s not my handwriting, but

34

 

36

 

9 (Pages 33 to 36)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 
Case: 1:10-cv-06114 Document #: 86-8 Filed

: 04/23/12 Page 10 of 20 PagelD #:436

 

 

 

1 it's written in there. 1 numbers on there and the denominations or, like | said, any
2 @. And that's accurate, | take it, right? 2 kind of combination of things.
3 A. Yes. 3 BY MR. FOX:
4 Q. Do you know whose handwriting that is? 4 Q. Do you keep like a clipboard with this
5 A. No, | don't. 5 information on it?
6 Q. And at the very bottom, it says “COH” with a 6 A. It depends on how it was presented to me.
7 question mark and an “OSO’ with a question mark,” do you 7 | don’t usually use @ clipboard.
8 see that? 8 Q. Do you know if anybody else was?
ce) A. Yes. 9 A. I don’t remember.
10 Q. Do you know what that means? 10 @. I'm going to show you what has been marked as
14 A. A“COH" is a consensual overhear. 11. Harris No. 9.
12 It's a court ordered -- 12 (Whereupon, the document was
13 Q. Right. 13 tendered to the witness. )
14 A. - buzz or whatever you want to call it. 14. BY MR. FOX:
15 And then an “OSO" is officer safety overhear. 15 Q. I'm sorry, is that $ or 7?
16 That is essentially used for officer safety, 16 I'm sorry, Harris No. 7.
17 and it’s also overheard device, but we didn’t use either 17 (Whereupon, the document was
18 one. 18 tendered ta the witness.)
19 Q. So, that would mean that if you were using an 19 BY MR. FOx:
20 officer overheard device, for example, Harris would have 20 Q. Is this a document that you prepared?
21 ‘been transmitting his actual buy as he was doing it? 21 A. Yes.
22 A. It wouldn't be a - it would be a live 22 Q. And is this your handwriting or does anybody
23 ~~ transmission that was being recorded, yes, if we did use 23 ~—selse’s handwriting appear on this document?
24 ~~ that. 24 A. From top to bottom, it’s my handwriting.
37 39
1 Q. And that would have required Harris to be t Q. So, in the narrative, you have “Time of buy,
2 wearing something to make that happen? 2 4648,” that would indicate that Harris actually made this
3 A. Yeah, or a cell phone or other protected 3 buy at 4:48 in the afternoon?
4 device. 4 A. Correct.
5 Q. Which would be on at the time? 5 Q. Then there’s a little bit cutoff on the next
6 A. Yes. 6 line down, maybe you can tell what itis, where it says
7 Q. And then I’m going to show you -- this is 7 something “of arrest, 1700 hours,” do you see that?
8 marked Harris No. 5. 8 A. Time of arrest.
9 (Whereupon, the document was 9 Q. And a couple of lines down before that, the
10 tendered to the witness.) 40 word before “purchased,” can you tell what that word is?
11. BY MR. FOx: 11 A. “item purchased.”
12 Q. Is that the large sheet that you used to 12 Q. Then where it says “sheet” under that, do you
43 compare the funds, or is that something different? 13. Know what the word is in front of “sheet"?
14 A. This is -- yes. 14 A. “Fund sheet.”
15 This is -- this is typical of our 1505 fund 15 Q. What does that refer to, the fund sheet?
16 sheet, the log sheet that we were talking about. 16 A. That is the inventory number that the fund
17 Q. Okay. And then you would have -- you would 17 sheet was -- the original fund sheet that was given, the
48 have looked at a sheet that looks like this to determine 18 1505 fund sheet, that’s the inventory number that it was
19 whether or not the money that you found on Reno were the 19 inventoried under.
20 1505 funds used to make the buy? 20 Q. And then where you have “notification,” and you
21 MS, BENSON: Objection, form. 21 ~~ have “OEC Williams,” what does that refer to?
22 Go ahead. 22 A. When an officer, depending on who it is, makes
23 BY THE WITNESS: 23 a narcotics purchase, they call the OEC to get the RD
24 A. Ora written piece of paper with the serial 24 ~~ number, which is the case number, and, so, | put down what

38

 

40

 

10 (Pages 37 to 40)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 11 of 20 PagelD #:437

 

 

 

1 time. 1 uncooperative when you were getting this information?
2 Q. Okay. And then here you have that -- you 2 A. Yes. It didn't seem fike he was giving me that
3 called -- somebody called. 3 hard of a time because | had most of the information |
4 Was that you that called for the RD number? 4 needed.
5 A. It’s usually the case officer; not the case 5 Q. Now, I'll show you what has been marked
6 officer but the buy officer. 6 already. This is No. 8.
7 Q. So, whoever did this, did this at 1803, 6:037 7 (Whereupon, the document was
8 A. Yes. 8 tendered to the witness.)
9 Q. Inthe afternoon, correct? Is that correct? 9 BY MR. FOX:
10 A. Yes. 10 Q. Is this your writing on this paper?
41 Q. And then bellow that, we have “wearing a black 11 A. Yes.
12 — skull cap, black coat, black pants with orange trim, blues 12 Q. What is this?
13 white shoes,” did t read that correctly? 13 A. This is a debriefing report.
14 A. Correct. 14 Q. What's it used for?
15 Q. Is this what you observed him to be wearing, or 15 A. Once you have an arrestee, you talk to thern and
16 is this a description that you were given or both? 16 basically ask thern if there was any information they would
17 A. Both. 17 ~~ be willing to give regarding any crimes that occurred.
18 Q. How far is the Area 2 where you took Reno back 18 Q. On the second page, you say, “Subject had no
19 from where he was arrested at 79th and Essex? -19 ~~ information to give.”
20 A. Area 2 -- Area 2 is on 117th, right off the 20 And do you remember, from locking at that, was
21 = expressway, right off of 99th, around there. 21 ~——~+he not talking to you at all, or he just indicated that he
22 Q. Right. 22 ~~ didn’t know anything about any of the things that you were
23 A. I don’t know. It's spread out. 23 asking him?
24 Q. Do you normally work out of that station? 24 A. He most likely said he didn't know anything or
41 43
1 A. Yes. 1 wasn't willing to give any infermation.
2 Q. Do you know if the other officers that were in 2 Q. Do you remember what he said?
3 the other units that were there, do they work out of Area 2 3 A. No.
4 as well? 4 Q. Do you remember, while you were at the - while
5 A. Yes. 5 you were at the palice station, do you remember if you had
6 Q. What's the distance of that from where you were 6 any conversation with any of the other officers that were a
7 in terms of time? 7 part of your team that day about looking for the funds, the
8 Was that like a 15 minute ride? 8 1505 funds?
9 A. lt might be longer, depending on traffic. 9 A. No, i don’t recall.
10 At this time, there was probably a lot of 19 Q. Did you ever see the narcotics that Officer
11 ‘traffic. There are several stops getting off at 79th 11. Harris said that he bought?
12 Street onto Stony Island would be -- it's kind of a bear to 12 A. | don’t remember.
13. get through, and then once you hit 95th Street alse. 13 Q. Do you officers that are on your team, do you
14 Q. All of the information that you have above here, 14. do adebriefing amongst yourselves about these arrests
15 this is all pretty much a description of -- it's his name 15 after you're done?
16 and address and so forth, is that correct? 46 A. | wouldn’t call it a debriefing exactly.
17 A. Correct. 17 You know, something major happens during the
18 Q. And you would get this either from him or his 18 arrest or the buy itself, we may discuss that.
19 identification or both? 12 Just basically, in general, just getting
20 A. No, Ewould go in there and ask him this 20 numbers from each other as far as, you know, “Vhat dic you
21 information, if he had an [D on him, and write his driver's 21 get, you know, how much did you purchase?” That type of
22 ‘license number down or ID number, 22 information, just pertinent to the arrest and to the
23 Q. And looking at this, does this refresh your 23° paperwork.
24 recollection as to whether he was cooperative or 24 Q. Do you remember anything specifically that was

42

 

44

 

11 (Pages 41 to 44)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

 
 

Case: 1:10-cv-06114 Document #: 86-8 Filed

: 04/23/12 Page 12 of 20 PagelD #:438

 

IN THE UNITED STATES DISTRICT COURT

 

 

1 said in connection with writing up the paperwork an this 4
2 nest , _Normern cine. or Kuno
3 A. No. 3
4 Q. Do you remember anything in particular that 4 MICHAEL RENO, }
5 Reno said in your presence after he was in your presence )
6 that day? 5 Plaintiff, )
7 A. No. 6 vs. ) No. 10CV 6114
8 Q. In particular I'm asking, if he admitted to any )
9 criminal activity? 7 CHICAGO OF CHICAGO, )
A Municipal Corporation, et al,)
10 A. No. 8 )
11 Q. Did you observe, you, yourself, Reno engage in Defendants. )
12 any criminal activity? 3
13 A. No, I did not. i
14 Q. Did he appear to you to be under the influence 12 This is to certify that | have read the transcript of
16 = of anything? 13. my deposition taken in the above-entitled cause by JOSEPH
16 A. | don’t remember. 14. T. MELARKEY, Certified Shorthand Reporter, on October 10,
15 2011, and that the foregoing transcript accurately states
7 @. Do you remember if this was the iast arrest you 16 the questions asked and the answers given by me as they
18 made that day? 17 now appear.
19 A. 1 don’t remember, 18
20 Q. Have you been back to that store where Reno was 7 POLICE OFFICER KHALED SHAAR
21 arrested since the day of his arrest? 20
22 A. Not to the store, no. 21
23 Q. Were you asked to testify at the criminal trial i
24 in this matter? 24
45 47
1 A. | was actually an IOD, injury on duty, so | 1 STATE OF ILLINOIS }
2 ~~ wasn't available. )Ss:
3 MR. FOX: | have nothing further. 2 COUNTY OF LAKE )
4 MS. BENSON: Okay. I'll reserve signature. 3
5 MR. FOX: We're done. Thank you. 4 |, JOSEPH T. MELARKEY, Certified Shorthand Reporter,
8 THE WITNESS: Thank you. 5 a Notary Public in and for the County of Lake, State of
7 FURTHER DEPONENT SAITH NOT. 6 Hlinois, do hereby certify that previous te the
3 7 commencement of the examination of the said POLICE OFFICER
8 KHALED SHAAR, he was sworn to testify the truth in
g 9 relation to the matters in controversy herein insofar as
10 10 he should be interrogated concerning the same; that the
4 14 testimony given by said witness was reduced to writing by
12 12 means of shorthand and thereafter transcribed into
13 13 typewritten form; and that the foregoing is a true,
14 14 ~~ correct, and complete transcript of my shorthand notes so
15 15 taken as aforesaid.
16 16 The said deposition was taken at the time and place
17 17 — specified hereinbefore; and there were present counsel as
18 18 previously set forth.
19 19 | further certify that by stipulation of the parties
20 20 the reading and signing of the deposition was reserved.
?1 21 [further certify that | am nat counsel for nor in
?? 22 ~~ any way related to any cf the parties to this suit, nor
23 23° am | in any way interested in the outcome thereof.
24 24
46 48

 

 

 

12 (Pages 45 to 48)

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 13 of 20 PagelD #:439

 

 

ab wh =

oo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

IN TESTIMONY WHERECF, | have hereunto set my
hand and affixed my nctarial seal this 16th day
of January, A.D., 2012. Bes

a!
Notary Public, Lake County, illinois,

and
Certified Shorthand Reporter.

 

 

My Commission Expires:
March 19, 2012

4g

 

 

 

 

McCorkle Court Reporters, Inc.
Chicago, Illinois (312) 263-0052

13 (Page 49)
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 14 of 20 PagelD #:440

Page 50

 

 

A
aboveentitled
47:13
accompanying
11:24
accurate 37:2
accurately 47:15
action 15:24 28:23
activity 8:21 9:4,23
10:3 21:19 24:2
45:9,12
actual 37:21
adams 1:18 2:2,6
address 5:20 42:16
admitted 36:6 45:8
affiliation 36:2
affixed 49:2
aforesaid 48:15
afternoon 14:19
40:3 41:9
ago 4:20 7:13 10:1
22:23
ahead 4:1 38:22
air 22:5
al 1:7 47:7
amount 33:8,10,13
angles 22:14
answer 5:3,4,7
26:15 34:15
answers 47:16
anybody 8:18
20:14 32:15
33:23,23 39:8,22
appear 34:12
39:23 45:14
ATAT
appearances 2:1
appeared 2:4,8
19:11,15 25:22
25:23
appears 11:12
applicable 4:10
application 8:16
appropriate 16:1
approximately
4:20 6:1

 

 

area 8:1,3 15:18,20
15:23 17:1 29:5
32:19 35:2,3
36:19,20 41:18
41:20,20 42:3

areas 15:21

arrest 6:13,18 7:14
7:16 8:6 10:11
12:1 13:16,20
14:8,18 16:7,9,13
17:23 22:8 32:7
33:22 35:5 40:7,8
44:18,22 45:2,17
45:2]

arrested 7:20
41:19 45:21

arrestee 33:1 43:15

arresting 19:24

arrests 8:24 9:15
9:18.20 10:5 16:8
44:14

asian 25:21 27:20
31:19,21

asked 8:12 28:23
45:23 47:16

asking 30:17 43:23
45:8

assigned 8:13
11:21,22

assignment 5:24
6:2 12:3 14:9
15:12

associates 2:2

assume 12:6

audibly 5:8

author 6:18

available 46:2

B

b2 11:11,15,22

17:11
b3 11:11,15,16
b5 11:8 17:18
back 29:2,5 31:2
34:18,21,24 35:3
41:18 45:20
badge 17:6

 

basically 9:18 22:7
24:23 27:10
43:16 44:19

bear 42:12

behalf 2:4,8

believe 8:4 9:17
16:10 17:8 21:10
23:10,19 25:2,21
29:23 32:2 33:2
35:18

bellow 41:11

belts 17:5

benson 2:6,8 23:13
38:21 46:4

bigger 8:5

bill 14:4

bit 40:5

black 36:4 41:11
41:12,12

blanks 11:19 12:7

blocks 16:24

blue 41:12

bottom 36:13 37:6
39:24

bought 22:7 44:11

break 5:12 34:7,8

briefing 15:4

briefly 6:11 7:22

bring 27:17

brought 8:15

bureau 5:22 8:8

bursar 13:6

bust 7:24 14:12
27:3

busts 8:3

butler 12:10 17:18

buy 7:24 8:3 14:12
27:3 30:8 37:21
38:20 40:1,3 41:6
44:18

buys 12:17 13:18

buzz 37:14

Cc

call 37:14 40:23

44:16
called 1:13 4:13

 

7:10,11 11:1
16:19 41:3,3,4
cap 41:12
capacity 28:7
ear 4:23 17:23
24:12
career 9:7
case 4:22,23 6:21
7:3,9 11:7 18:13
18:8 19:14 27:12
27:15 40:24 41:5
41:5
cashed 31:4
cause 47:13
cell 38:3
certified 47:14
48:4 49:7
certify 47:12 48:6
48:19,2]
changed 10:22
check 13:5 36:14
chicago 1:7,7,18
2:3,7 5:15 9:14
47:7,7
circumstances
20:15
chvil 1:14 4:11
clipboard 39:4,7
clothes 17:4
coat 41:12
coh 37:6,1]
combination 39:2
come 29:2
commencement
48:7
commingled 33:11
33:14
comunission 49:9
communicate 16:5
communication
16:3 17:22
compare 13:23
30:7 38:13
complaint 36:17
complete 48:14
computer 9:13,14

 

concerning 48:10
connection 8:18
15:5 17:22 18:13
32:5 35:4 45:1
consensual 37:11
contact 16:15
context 20:11
contraband 36:1
controversy 48:9
conversation 27:19
32:17,24 34:2
44:6
conversations
33:21 34:21
cooperative 31:22
32:1 34:5 42:24
copy 13:9,15
corner 18:19,19
23:18,20
corporation 1:7
47:7
correct 6:24 7:1
8:8 10:9,10 11:12
11:13 15:11,15
16:20,21 17:5,18
18:11 19:22 20:5
20:6,24 21:1,18
23:3,16 24:9,13
26:22 27:18
28:14 29:21
31:16 33:4 35:11
36:12,24 40:4
41:9,9,14 42:16
42:17 48:14
correctly 41:13
counsel 48:17,21
counter 25:22 31:3
counters 24:23
county 1:17 48:2,5
49:6
couple 7:8 28:19
40:9
court 1:1 5:5 37:12
47s]
courts 1:15
covert 28:7

 

 

McCorkle Court Reporters,
Illinois

Chicago,

(312)

Inc.
263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 15 of 20 PagelD #:441

Page 51

 

 

crime 5:2?

crimes 43:17

criminal 6:2 1,23
45:9,12,23

criteria 33:9

cuisinier 2:6

current 5:20

currently 5:15

cursory 31:5,14

custodial 29:17,19
29:22

custody 20:17,19
20:21 27:9 29:17

cutoff 40:5

ev 1:6 47:6

D

daily 8:23 9:3,5,8

database 9:13,18

date 4:21 14:8
35:23

day 1:18 7:16,20
10:11,19 12:1,4,7
12:14,17 13:1
14:14,17 15:3,6,8
15:10,13 16:7,12
16:19 17:7,21
19:5 20:22 23:22
24:20,21 33:1
44:7 45:6,18,21
49:2

daytime 15:2

debriefing 43:13
44:14,16

decide 8:i

defendants 1:8 2:8
7:3 47:8

denominations
30:18 39:1

department 5:16
9:14

depending 20:15
22:14 40:22 42:9

depends 33:7 39:6

deponent 46:7

deposition 1:12 4:8
4:17 6:9 47:13

 

48:16,20
depositions 1:15
7:3
describe 7:22
18:22
describes 11:11
description 16:20
18:2,9,13,20 19:1
19:23 20:2 21:8,9
22:13,21 26:10
26:12 41:16
42:15
detain 16:19 20:3,8
20:19,23 21:3,4
21:16 23:1,9,11
27:16
detained 26:11 ,20
27:15 32:15
detaining 26:16,18
determine 38:18
device 37:17,20
38:4
didn 27:1 30:24
37:17 43:2,22,24
different 17:17
20:13 24:12
29:12 36:7 38:13
direct 4:15 20:16
direction 23:5
directive 20:8,23
discuss 44:18
distance 42:6
district 1:1,1,14
4:10 6:3,8 47:1,1
division 1:2 5:23
§:9,11 47:2
document 11:2,8
35:15 36:13 38:9
39:12,17,20,23
43:7
documents 6:10
doing 5:24 12:6
15:6 18:22 19:5
20:11 25:10,12
28:4 36:22 37:21
dollar 14:4

 

don 5:10 6:19 9:17
10:17,20 14:1,16
16:23 17:24 18:5
18:6 19:10,12
20:1,10 21:9
22:21 23:4,6
24:15 25:8,11,14
25:17 26:5,7,14
26:17,18 27:14
29:5,23 30:5,17
30:21 31:10,12
31:12,13 33:20
34:2,4,17,19,19
37:5 39:7,9 41:23
44:9.12 45:16,19

driver 42:21

drug 33:1

drugs 18:23 22:3
31:15 32:18
33:19 34:1

duly 4:2,14

duty 17:5 46:1

E

eastern 1:2 47:2

edward 2:2,4 3:4

either 7:7 14:2
31:19 33:23 36:9
37:17 42:18

employee 25:23

encompassing 9:6

enforcement 10:17
10:18 13:11 14:6
14:7,10,11 15:13
15:24 16:2 20:16
21:11 28:23
33:18

engage 45:11

engaging 19:8,15
19:20

essentially 7:24 8:2
13:5 21:6 37:16

essex 23:12,16
41:19

estimate 12:17

et 1:7 47:7

evasive 25:13

 

exact 4:21 17:24
18:4 22:22
exactly 14:1 16:23
26:7 44:16
examination 1:13
3:3 4:15 48:7
examined 4:14
example 18:16,18
37:20
exchanged 31:4
excuse 33:7
exhibit 3:11,11,12
3:12.13 10:24
exhibits 3:10
exiting 21:7
expires 49:9
expressway 41:21
eyes 18:3

F

facility 35:2

fact 17:12 33:24

familiar 8:21 9:11
23:21,24

familiarity 9:12

far 9:15 18:4 26:18
36:1 41:18 44:26

farahvar 2:6

fashion 27:16,16

federal 4:11

fellow 20:4,8 21:16
23:2

fellows 11:23

felonies 9:19

find 26:23 27:1
29:22 31:6,17
36:7,10

first 4:14 8:3 11:7
17:21 24:14 25:6
25:10,12

five 6:6 14:19

fives 30:21

flee 34:13

folks 12:13 25:9,19

follows 4:14

foregoing 47:15
48:13

 

form 32:8 38:21
48:13

former 8:12

forth 42:16 48:18

found 19:4 20:24
30:15 33:3,24
38:19

fox 2:2,4 3:4 4:1,4
4:8,16 11:4 23:15
35:19 38:11 39:3
39:14,19 43:9
46:35

front 11:10 12:11
25:1 35:10 40:13

function 15:22
28:5

fund 38:15 40:14
40:15,16,17,18

funds 12:21,24
13:4,16,18,19,23
33:11,14,19 34:1
38:13,20 44:7,8

further 15:24
20:20 46:37
48:19,2}

Ge
gang 6:4 36:2
garage 33:12
gatlin 11:20,24
general 44:19
generally 22:16
24:3 35:20
generically 19:14
getting 19:23
32:14 34:12
42:11 43:1 44:19
give 14:4,21 18:12
18:16,19,24
43:17,19 44:1
given 13:11 15:12
15:20 21:8,21,21
22:21 26:10,12
31:4,11 40:17
41:16 47:16
48:11
gives 22:9

 

 

 

McCorkle Court Reporters,
Tllinois

Chicago,

(312)

Inc.
263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 16 of 20 PageID #:442

Page 52

 

 

giving 18:2,8 22:12
43:2

go 4:1 8:6,13 15:16
15:22 20:3,17,23
22:8 23:1,9 24:17
35:1 38:22 42:20

goes 11:10 22:10

going 4:24 10:23
12:6 13:12 15:6,9
15:16 18:2 21:3
22:19 38:7 39:10

gonzalez 7:8 17:16
17:19 18:7 19:3

gotten 22:4

grubs 11:20,24

guess 16:5

guns 9:1,15

guy 19:15 31:20

guys 14:14 29:15
29:16 35:4

H
hadn 33:24
half 5:19 22:22
hand 49:2
handcuffed 27:13
34:9
handtohand 19:9
19:11,16 20:4,9
21:24
handwriting 36:24
37:4 39:22,23,24
handwritten 14:2
happen 28:10 38:2
happened 22:17
30:10 32:8,11,13
happens 44:17
hard 43:3
harris 3:11,11,12
3:12,13 7:7 11:1
17:16,18 20:5,9
22:19 28:13,14
28:17,22 29:3,15
30:8,12 35:13
37:20 38:1,8
39:11,16 40:2
44:1]

 

head 5:8 10:20

hear 19:21

hearing 17:22

hereinbefore 48:17

hereunto 49:1

hidden 31:7

hide 25:16

higher 8:1

hit 42:13

hoffman 7:8 17:8,9
21:10 24:9 33:18

insofar 48:9

interested 48:23

interrogated 48:10

intersection 23:21
24:1

interviewed 8:18

inventoried 33:6
40:19

inventory 33:15
40:16,18

investigating 36:20

 

 

honest 24:20 investigation 20:20
honestly 10:20 involved 7:11
14:23 30:5 21:24
hopefully 20:20 iod 46:1
hopkins 11:22 island 42:12
hours 40:7 item 40:11
I J
id 42:21,22 january 49:3
idea 14:2] 24:22 joseph 1:16 2:17
32:11 47:13 48:4
identification
28:18 29:4,14 —___kK
47:19 keep 16:3 39:4

identified 27:8
identify 28:8
illinois 1:1,17,18
2:3,7 4:11 47:1
48:1,6 49:6
impede 31:21
incident 35:23 ,24
35:24 36:1
include 13:15
index 3:1]
indicate 40:2
indicated 43:21
individual 18:14
23:9
influence 45:14
information 18:10
29:8 32:14 39:5
42:14,21 43:1,3
43:16,19 44:1,22
informing 33:1
injury 46:1
inside 27:13

 

khaled 1:12 3:3
4:6,7,12 47:19
48:8

kind 4:22 24:6,19
24:21 31:5 39:2
42:12

kinds 18:16

know 5:11,12 7:10
8:1,5,21 9:13
11:17 12:3,10,11
13:6,14,14 14:5
14:17 15:2,16
16:12 17:1,1,5,18
18:2 20:20 22:12
22:20 24:5,6
25:15,23 27:10
31:4 37:4,10 39:8
40:13 41:23 42:2
43:22,,24 44:17
44:20,21

knowledge 16:15
24:4

 

konior 17:19,19
24:10 33:19

L

lake 1:17 48:5 49:6

lapsed 28:12,16,20

large 38:12

lawsuit 7:12

leading 20:20

letting 28:6

license 2:18 42:22

lieutenant 8:12

likewise 5:3

line 40:6

lines 40:9

list 13:9,11,24 14:2

listening 18:10

little 30:4 34:8
40:5

live 37:22

location 15:22
35:24

log 8:23 13:9,16,22
30:7,11 38:16

logged 13:7

long 5:18,24 6:5
7:13

longer 42:9

look 9:22 21:11
25:15 27:5 28:7
33:19

looked 6:20 9:24
11:5 18:20 26:1
27:2,11 38:18

looking 11:14,18
27:11 30:6 31:15
42:23 43:20 44:7

looks 14:18 36:13
38:18

lot 24:2 30:3 42:10

M
major 44:17
making 10:5,6
16:8
male 25:24
man 27:20 31:24

 

32:3

march 49:9

mark 37:7,7

marked 12:17,19
12:19 17:2 35:13
38:8 39:10 43:5

mass 8:6

match 30:11,13,16
30:24

matched 13:8
16:19 26:9 27:1]
30:8

matter 17:12 45:24

matters 48:9

mean 10:22 15:2
23:23 32:13
36:18 37:19

meaning 19:16

means 19:19 37:10
48:12

melarkey 1:16
2:17 47:14 48:4

member 36:3

mentioned 11:23
12:1]

michael 1:4 6:17
47.4

mine 8:12

minute 28:2 42:8

minutes 28:19,24

misdemeanors
9:19

mission 7:17,19,23
7:24 12:1 15:9
36:23

missions 15:1,17

mistaken 23:20

money 12:17,19
13:5,6,6,10,12
14:3 27:3,6,10
29:23 30:1,3,4,6
30:8,11,12,16,16
30:17,18,24 31:4
31:4,9,11,15 32:9
32:19 33:3,13
38:19

 

 

McCorkle Court Reporters,
Tllinois

Chicago,

(312)

Inc.
263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 17 of 20 PagelD #:443

Page 53

 

 

monthly 9:8
months 7:8 8:14
morning | 4:24

municipal 1:7 47:7

N

name 4:4.4.6 11:12

36:10 42:15
narcotics 5:23 8:3
8:8,9,10,14 11:8
11:11 12:18
19:16,20 24:2
28:9 29:7 36:17
40:23 44:10
narrative 40:1
nation 36:4
necessarily 20:12
needed 43:4
negative 22:6
nextel 16:5 29:11
29:13
nodding 5:8
nonpolice 25:4
normally 41:24
northern 1:1 4:10
AT
notarial 49:2
notary 1:16 48:5
49:6
notes 48:14
notice 4:9
notification 40:20
notified 7:12
number 8:24 10:5
14:4 35:23,23,23
40:16, 18,2424
41:4 42:22,22
numbers 12:23
13:7,8,12 27:11
30:7 35:22 39:1
44:20

Oo

objection 38:21

observe 45:11
observed 18:18
26:3 41:15

 

observing 18:13
19:8
obviously 17:13,13
occasion 9:22
occurred 14:2
43:17
occurring 21:22
october 1:19 47:14
oec 40:21 ,23
office 4:12 22:11
officer 1:12 3:3 4:6
4:9 5:21 6:4 7:7
11:20,20,21,22
13:5 14:3,6,7,11
14:12,13 15:14
16:2 17:8,9 18:8
18:12 19:3,13,15
20:4,9,12,16 21:7
21:10 22:1,12,13
23:19 24:9,10,10
27:8 28:7 30:12
37:15,16,20
40:22 41:5,6,6
44:10 47:19 48:7
officers 7:2 12:5
13:11 16:4 18:1
21:11 25:4,7
32:22 33:18 42:2
44:6,13
oh 9:10
okay 5:13,14 9:10
28:10 36:21
38:17 41:2 46:4
once 13:10 27:7
29:14 30:24
42:13 43:15
ones 30:21
operation 27:3
opinions 32:8
opportunity 14:10
orange 41:12
order 15:19,19
22:8
ordered 37:12
orders 15:24
organized 5:22

 

original 29:20
40:17

oso 37:7,15

outcome 48:23

outside 27:17,22
27:24 28:3,13,17

overall 9:10

overhear 37:11,15

overheard 37:17
37:20

owner 25:24

P

padded 26:21

page 3:2 11:7,10
11:11,12 12:11
43:18

pants 41:12

paper 38:24 43:10

paperwork 44:23
45:1

part 7:16 8:7,10
15:9 44:7

participate 35:7

particular 12:16
13:1 15:8 16:7
17:21 18:14 19:4
36:20 45:4,8

parties 48:19,22

partner 17:7

passing 23:24

pat 26:24 29:20

patrol 6:8

people 25:4,5,18
31:19

percent 16:11 36:8

person 18:20,21,22
19:4,19 20:13
27:9 28:8 29:6

persons 16:8

pertaining 1:15

pertinent 44:22

phone 18:24 29:13
38:3

phones 16:5

piece 38:24

place 14:18 20:17

 

20:19 34:21
48:16

placed 26:10 27:9
29:17

placing 20:21

plain 17:4

plaintiff 1:5,13 2:4
4:13 47:5

play 21:22,22 22:9
22:10

please 4:1

point 16:18 20:3
20:22 22:2,24
28:4

police 1:12 3:3
4:12 5:15,21 9:14
10:23 11:5 34:18
34:24 35:2 44:5
47:19 48:7

positive 22:5

possible 31:6

premises 31:6

preparation 6:9

prepared 39:20

preparing 35:4

prerecorded 12:22
12:23,24 13:4,18

presence 34:6 45:5
45:5

present 48:17

presented 39:6

pretty 42:15

previous 48:6

previously 48:18

prior 14:7 16:15
21:16

probably 4:24 9:24
10:1 15:19 22:16
28:24 42:10

procedure 1:14
4:11 15:4

process 32:6

protected 38:3

public 1:16 48:5
49:6

purchase 40:23

 

44:21
purchased 40:10
40:11
pursuant 1:13 4:9
4:9
put 9:9 17:14,15
34:16 40:24
Qo
quarter 14:19
question 5:2,4,10
37:7,7
questions 5:1,7
34:15 36:14
47:16

— Ro

radio 18:10 19:21
21:3 29:9 33:23

radios 16:6

ran 21:6,17 22:3

rate 20:22 35:23

rd 35:22 40:23
4]:4

reaction 26:4,19

read 41:13 47:12

reading 48:20

ready 34:12

realized 30:15,24

reason 5:11 36:19
36:21

recall 6:19 12:8,14
14:15 16:8 17:22
19:23 21:15,23
22:15,16,18 23:7
23:19 25:5,14,17
26:2 28:20 29:1
30:17 32:16,20
34:4,11,16 36:6
44:9

received 22:2

recites 11:7

recollection 29:3
42°24

record 4:5,8

recorded 37:23

records 8:24

 

 

McCorkle Court Reporters,
Tilinois

Chicago,

Inc.

(312) 263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 18 of 20 PageID #:444

Page 54

 

 

recover 13:19
recovered 36:1
reduced 48:11
refer 40:15,21
refrain 5:8
refresh 42:23
refuse 34:15
regarding 7:13
34:3 43:17
register 24:23
regular 6:8 14:9
related 36:18
48:22
relation 48:9
remember 4:20
7:14 10:12,13,21
14:1,16 16:23
17:24 18:5,7 19:3
19:7,10,12 20:1,7
21:2,5,9 22:19,20
22:22 23:4,6,18
24:11,15,18,24
25:8,11 26:5,7,12
26:16,17,17,18
26:18 27:5,12,14
27:19 29:5,6,24
30:1,3,5,6,18,21
31:10 32:14,17
32:24 33:17,20
33:21 34:2,17,19
34:19,20 39:9
43:20 44:2,4.5,12
44:24 45:4,.16,17
45:19
reno 1:4 6:17 7:14
7:16,20 10:11
12:1 14:8 16:7,9
16:12,20 17:23
19:5,8,23 20:24
21:3 24:16 25:10
25:19 26:3,16
27:22 28:3,13,22
29:4,16 30:16,19
31:3 32:5,15,18
33:1,3,22 34:5
38:19 41:18 45:5

 

45:11,20 47:4
repeat 5:11
rephrase 5:11 7:6

20:18
replied 31:13
report 6:13,18 9:4

9:23 10:3,23 11:5

35:14,18,20

43:13
reported 2:16
reporter 5:5 47:14

48:4 49:7
reports 8:22 35:4,8
required 38:1
reserve 46:4
reserved 48:20
resist 34:9
retrieved 27:10
review 6:10,12,16
ride 42:8
right 13:21 15:3

16:17 22:24 28:2

30:14 33:16 37:2

37:13 41:20,21

41:22
roughly 14:22

16:22 28:16,20
rules 1:14 4:10,11
run 36:10
running 22:20

Ss

safety 37:15,16

saith 46:7

sale 20:4

sales 19:9,11,16
20:9

sairchez 17:19
24:10 33:19

saw 7:5 25:9

saying 19:8 29:6

says 12:5 19:15
36:17 37:6 40:6
40:12

scaffolding 24:24

scene 18:3 33:22

sea] 49:2

 

search 29:18,19,19
29:22 31:5,5,14
32:4

searched 27:10

second 6:3,8 11:12
43:18

see 11:8 24:16,17
27:11 30:7 31:3,6
36:15,21 37:8
40:7 44:10

seen 17:1 21:7

seized 9:1 33:11

selling 18:23 19:20

send 8:2.4

sergeant 11:19
12:7,10,13 15:5
17:15

sergeants 23:6

serial 12:23 13:7
13:11 14:4 27:11
30:7 38:24

series 5:1

set 14:14 48:18
49:]

shaar 1:12 3:3 4:6
4:7,9,12 47:19
48:8

sheet 13:16 38:12
38:16,16,18
40:12,13,14,15
40:17,17,18

shift 14:14

shoes 41:13

short 17:12

shorthand 47:14
48 :4,.12,14 49:7

shorthanded 10:16
17:13,13

show 10:23 35:13
38:7 39:10 43:5

signature 46:4

signing 48:20

similar 4:24

sit 19:2

situation 8:6 13:10
14:1

 

six 6:1

skull 41:12

small 33:13

sold 24:22 28:8
29:7

somebody 15:5
16:19 18:14,18
20:23 41:3

sorry 23:16 25:6
33:7 39:15,16

sort 7:19 9:1 13:22

southwest 23:19

specifically 19:7
19:14 33:12
44:24

specified 48:17

spell 4:4

spent 22:7

spoke 31:2

spread 41:23

squad 17:3

ss 48:1

standing 18:18,19
18:23

start 15:1

started 14:16,22
15:3

state 1:17 4:4 48:1
48:5

states 1:1,14 47:1
47:15

stating 9:3

station 32:6 34:18
34:22 35:1 41:24
44:5

stipulation 48:19

stone 36:4

stony 42:12

stops 42:11

store 21:5,6,13,17
22:3,21 23:1,9,11
24:5,6,8,17,18,19
24:21,22 25:1,3,4
25:9,19,20,24
26:1,11,13 27:7
27:13,17,20,23

 

28:1,3,13,17 31:2
31:7,19,24 32:4,4
45:20,22

street 1:18 2:2,6
24:17 42:12,13

strike 7:17,22 12:1
15:9,17 16:4
36:23

stuff 20:11

subject 18:19,20
20:17 21:5,12,23
43:18

substantial 33:10

suit 48:22

suite 1:17 2:3,7

summary 35:22

supervisor 10:2
11:19,20 20:13
20:16 33:23

supervisors 12:13
15:20

supposed 13:19
36:14

sure 13:7 15:2
16:11 24:20,21
34:9 36:9

surgical 7:17,22
12:1 15:9,17 16:4
36:23

surveillance 12:5,6
14:13 18:1,8,12
19:13,15 20:12
21:7 22:11

swear 4:]

sworn 4:3,14 48:8

system 9:13,14

T
tactical 6:4
tag 10:24
take 5:12 13:24
26:15,20 28:7
33:12 34:20 37:2
taken 1:13,15 4:9
4:17 5:9 26:1]
34:21 47:13
48:15,16

 

 

McCorkle Court Reporters,
Illinois

Chicago,

(312)

Inc.
263-0052
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 19 of 20 PagelD #:445

Page 55

 

 

talk 43:15

talked 7:2,5,7 10:2
31:8 32:3,22

talking 9:10 18:23
18:24 19:2,13
38:16 43:21

tallies 9:15

target 15:2] 22:3,3
22:8,20

targeted 8:1 15:18
15:23

targeting 18:14

team 10:8,12,22
11:8,14,17,21
16:4 17:10,11,17
17:18,20 33:24
44:7,13

teams 10:13,15
tl:1l

tell 9:12 14:21
25:19 31:8 40:6
40:10

ten 14:3 28:24

tendered 11:3
35:16 38:10
39:13,18 43:8

tens 30:22

terms 42:7

testified 4:14

testify 6:23 45:23
48:8

testimony 48:11
49:1]

thank 46:5,6

theft 4:23

thereof 48:23

thing 8:23 9:2
21:15 29:15,16
32:5

things 9:16 18:17
39:2 43:22

think 10:15,16
27:24 29:1 31:12
31:12,13 33:7

thompson 11:21
11:24

 

thorough 29:19

thought 25:13

three 10:15 25:5,9

tickets 9:1

time 4:19 5:6 7:5
9:23 23,24 11:2]
14:16,22,24 £5:3
16:18,22 28:12
28:12,13,16,16
28:20,21,22
34:10 35:23 38:5
40:1,8 41:1 42:7
42:10 43:3 48:16

timeframe 9:9

today 6:9

told 15:8 20:3 21:4
21:15,16,19 23:1
23:7,8,9 28:21
36:11

top 10:20 39:24

tort 4:23

total 25:5

traffic 42:9,11

transaction 21:24
22:6,6,18 28:2]

transcribed 48:12

transcript 47:12
47:15 48:14

transcripts 6:20

transmission 37:23

transmitting 37:21

transported 32:6
34:18

traveling 15:21

trial 6:21,23 45:23

trim 41:12

true 8:5 21:20
48:13

truth 48:8

try 5:2,7 13:19
34:13

trying 25:15

two 21:11 22:22
25:7,18

type 8:6,23 9:20
35:24 44:2]

 

types 14:24

typewritten 48:13

typical 38:15

typically 17:10,17
18:1,6,7,12 21:2]
22:9 33:6

U
uncooperative
43:1
undercover 14:3
21:24 22:2,4,7
27:8 28:7
understand 5:10
18:6
understanding
12:16 13:3,17
unit 8:5
united 1:1,14 47:1
units 8:5 42:3
unmarked [7:2,3
ups 8:1
use 13:3,10,15
37:17,23 39:7
user 33:1
usually 10:17
14:24 15:17
20:15 22:12
33:12,14 39:7
41:5

Vv
vaguely 7:15
verbally 14:5
vests 17:5
victoria 2:8
view 21:7 25:13
vs 1:6 47:6

Ww

wait 5:2,3 15:23

22:8

waiting 29:1]

walked 25:3,10,12
26:4,6

want 5:12 9:9
37:14

 

wanted 8:13
wasn 10:18 14:9
24:20 44:1 46:2
watching 18:9
way 12:20 31:21
34:21 36:7,9,11
48:22,,23
weapons 26:24
27:1
wearing 18:21
38:2 41:11,15
went 21:5,11 23:11
24:5,8,11 26:13
31:2
weren 18:3 21:19
west 1:18 2:2,6
whereof 49:1
white 41:13
williams 40:21
willing 43:17 44:1
withdraw 7:6
witness 3:2 4:1,2,6
4:13 11:3 23:14
35:16,17 38:10
38:23 39:13,18
43:8 46:6 48:11
woman 25:21,22
27:20 31:3,8,20
31:21 32:3
word 40:10,10,13
wording 17:24
18:4
words 22:15,22
work $:21,2? 8:13
10:17 14:10
41:24 42:3
worked 6:3 10:8
14:7 25:20
working 10:18
12:7 14:15 17:8
25:22 32:15
wouldn 34:20
37:22 44:16
write 14:5 42:21
writing 35:7 43:10
45:1 48:11

 

written 9:1 13:24
13:24 15:19 37:1
38:24

wrote 36:21

X

YY
yeah 9:11 14:9
34:8 38:3
year 4:20 10:1
years 5:19 6:1,6
10:1 22:23

Z

0

00 14:23
03 41:7

1

11:19

10 1:6,19 47:6,14

100 16:11 36:8

10th 1:18

11 3:11

111th 41:20

12 5:19

15 42:8

1505 12:21 33:11
33:14,19 34:1
38§:15,20 40:18
44:8

1505s 34:3

1648 40:2

16th 49:2

1700 40:7

1803 41:7

19 49:9

2
2 35:2,3 41:18,20
41:20 42:3
200 2:6
2011 1:19 47:15
2012 49:3,9

3

 

McCorkle Court Reporters,
Tllinois

Chicago,

{312)

Inc.
263-0052

 
Case: 1:10-cv-06114 Document #: 86-8 Filed: 04/23/12 Page 20 of 20 PagelD #:446

Page 56

 

 

33:11 Lh:l

300 1:18 2:2
330 1:17 2:3
353:11

38 3:12

39 3:12

4

43:4,11 35:14 40:3

43 3:13
430 2:7
48 40:3

5
53:12 38:8

6

6 41:7
60606 2:3,7
6114 1:6 47:6

7

73:12 14:23 39:15

39:16
79th 23:13,14,16
41:19 42:1]

8
8 3:13 43:6
$4686 2:18

9
939:11,15
95th 42:13
97th 23:12
99th 41:21

 

 

 

 

 

 

McCorkle Court Reporters, Inc.

Chicago,

Tllinois

(312)

263-0052
